Case No. 1:25-mj-00108-NRN             Document 8      filed 06/04/25     USDC Colorado           pg 1
                                              of 3




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

CASE NO. 25-mj-00108-NRN

UNITED STATES OF AMERICA,

               Plaintiff,

v.

MOHAMMED SABRY SOLIMAN,

               Defendant.


                       MOTION FOR APPOINTMENT OF COUNSEL
                         UNDER THE CRIMINAL JUSTICE ACT


       The Office of the Federal Public Defender, through Virginia L. Grady, Federal Public

Defender, requests the Court to appoint counsel for Mr. Soliman in accordance with the Criminal

Justice Act. The following is offered to support appointment of counsel.

       1.      Mr. Soliman is the custody of the Boulder County, Colorado, Sheriff.

Immigration and Customs Enforcement have lodged a detainer.

       2.      He is financially unable to post bond or hire counsel.

       3.      He is scheduled for an initial appearance before Magistrate Judge Timothy

O’Hara on Friday, June 6, at 2 PM.

       4.      AFPD David Kraut has conducted a preliminary interview of Mr. Soliman and

can attest that he is unable to afford counsel. Mr. Soliman will be represented by this office.

       5.      Additional information confirming eligibility for court-appointed counsel will be

submitted at the initial appearance.
Case No. 1:25-mj-00108-NRN   Document 8    filed 06/04/25    USDC Colorado   pg 2
                                    of 3




                                   Respectfully submitted,

                                   VIRGINIA L. GRADY
                                   Federal Public Defender


                                   s/ Virginia L. Grady
                                   VIRGINIA L. GRADY
                                   Assistant Federal Public Defender
                                   633 17th Street, Suite 1000
                                   Denver, CO 80202
                                   Telephone: (303) 294-7002
                                   FAX: (303) 294-1192
                                   Email: virginia_grady@fd.org
                                   Attorney for Defendant




                                      2
Case No. 1:25-mj-00108-NRN         Document 8      filed 06/04/25    USDC Colorado        pg 3
                                          of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 4, 2025, I emailed the foregoing Motion for Appointment of
Counsel Under the Criminal Justice Act to the Clerk of Court at
cod_criminal_docketing@cod.uscourts.gov for filing with a copy to the following:

       Melissa E. Hindman, Assistant United States Attorney
       Email: melissa.hindman@usdoj.gov

        I hereby certify that I have mailed or served the document or paper to the following
participant in the manner (mail, hand-delivery, etc.) indicated next to the participant’s name:

       Mohammed Sabry Soliman (via U.S. mail)

                                           s/ Virginia L. Grady
                                           VIRGINIA L. GRADY
                                           Assistant Federal Public Defender
                                           633 17th Street, Suite 1000
                                           Denver, CO 80202
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                                           FAX: (303) 294-1192
                                           Email: virginia_grady@fd.org
                                           Attorney for Defendant




                                              3
